                                                                                                                            Ortz-
                                                                                                                             % cC
AO 34J                       MOTION UNDER 28 USC § 2255 TO VACATE. SET ASIDE, OR CORRECT
R£V */aj                              SENTENCE BY A PERSON IN FEDERAL CUSTtt6VL:lS i   f                                7
                                                                                    -------- /iriLH!.-
                                                                                                   . ; I; T1,           y:
                                                                          DUlrict
                       ^izixs (Sisirirt Qloirrl                           Eastern District of ‘Wifccmsin
 Name of Movint                                                           Prisoner No.             Docket No.
    Jerry Walker-                                                         D<i582T089     •99 fl!f gcn-2ffL^M7
                                                                                                 i
Place of Confinement
                                        USP Leavenworth, Leavenworth, Kansas •
                                                                                     Qndude name upon which convicted)
                                                                                     , waiter’ "C                     0 9 7 S
I :         ...   ■UNITED STATES OF AMERICA                          V.        Jeryy
                                                                                           (full name of movant)

                                                                 MOTION
                    i- -:3
        _Namc ^d^lpcatiOD ^f. coon which entered the judgment of conviction under attack                 District Court,
         -Ea%t^il:DfstricC‘of Milwaukee.


                                         April 4. 1997
      2. Date of judgmc.nt of conviction
                             Life without Parole
      3. Length of senteact.
                                                   Continuing Career Enterprise, Conspiracy, possession
      <■: Narum of offense involved (all counts)
         '^lih intent to distribute, and money laundering.




      5. Wto was your plea? (Check one)
          (a) Not guilty      ^
         (b) Guilty           O                                                                                                 '
         (c) Nolo contendere C

        If you entered a guilty plea to one count or indictment, and a not guilty piea to another count or indictment, give details:
                                N/A




  6.     Kind of trial; (Cheek one)
         (a) Jury              y{3
         (b) Judge only        □

 7.      Did you icsdfy at the trial?
         Yes    No OC

  8.     Did you apocal from the judgment of conviction?
         Yes S^o b




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     9. If you did appeal, answer ihe foOowing:

           (3) Ndfnc of         ^_S^\^nt^^CiT*nclf: ^OlUJ__Q^ Appp?^lc

           (b) Result      Vacated count.one. Affirmed nn all nrh
                                                                              P T“   f'ftllTl t" c



           (c) Date or result

    10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
        applications or modons with irspcct to this judgment in any federal court?
          Yes □ No n
    II. If your answer to 10 was "yes," give the following information;

                                            N/A
          (a) (1) Name of court

                                             N/A
             (2) Nature of proceeding



                                             N/A
             (3) Grounds raised.




             (4) Did you receive an evidentiary hearing on your pcdiion, application or modon?
                 Ves □ No g         n/A

             (5) Result-

             (6) Date of result    N/a

          (b) As to any second petition, application or motion give the same information:

              (1) Name of court          ^__________________________________________

           '•(2) Namrc of proceeding



            (3) Grounds raised.            N/A




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              (4) Did you receive an c%ndenua/y hearing on your petition, application or motion?
                  Yes 0 No 0x N/A

              (5) RcsuIl            N/A

              (6) Date of result

           (c) As to any third petition, application or modon, give the same information:

              (I) Name of coun             --------------------------------------------- ----------- —
              (2) Nature of proceeding ..E^A.




              (3) Grounds raised.          N/A_




             (4) Did you receive an evjdennary hearing on your petition, application or motion?
                 Yes a No ©
             (5) Result__________ N/A________________________________________________
             (6) Date of Result         N/A
         (d) Did you appeal, to an appellate federal court having jurisdiction, the .tsuli of action taken on any petition, application
                 or modon?
             (1) First peution, etc.      Yes □ No ©
             (2) Second petition, etc.    Yes □ No ©N/A                                                                             '
             (3) Third pediion, etc.      Yes □ No SX
         (e) Ifyou did not appeal from the adverse action onany petition, application or motion, explain briefly why you did not:

                 _____        N/A




    12- Stale concisely every ground on which you claim that you arc being held unlawfully. Summariac briefly the facts supporting
        each ground. If necessary, you may attach paces stating additional grounds and facts supporting same.
        CaUTIO.V; If you fail to set forth all grounds in this motion, you may be barred from presenting additional grounds at a
         later date.
          For your information, the following is a list of the most frequently raised grounds for relief in these proceedings. Each
       staicmcni preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
       other than those listed. However, you should raise in this motion al! available grounds (relating to this conviction) on which
       you based your allegations that you are being held in custody unlawfully.
          Do not check any of these listed grounds. Ifyou select one or more of these grounds for relief, you must allege facts. The
       modon will be returned to you if you merely check (a) through Q) or any one of the grounds.
        (a) Conviedon obtained by plea of guilty which was unlawfully induced or not made volunmrily or with understanding of
              the nature of the charge and the consequences of the pica.
        (b) Conviction obtained by use of coerced confession.

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           (c)   Conviction obtained by use of evidence faiwd pursuant to in unconstitutional scorch and seizure.
           (d)   Conviction obtained by use of evidence obtained pursuant to an unlawful onest.
           (e)   Conviction obtained by a violation of the privilege against sclf-incriminadon.
           (f)   Conviction obtained by the unconsrifudonal failure of the prosecution to disclose to the defendant evidence favorable
                 to the defendant.
           (g)   Convicoon obtained by a violation of the protection against double jeopardy.
           (h)   Conviction obtained by action of a grand or peril jury which was unconstitutionally sciccicd and impanelled.
           (i)   Denial of effective assistance of counsel.
           (j)   Denial of right of appeal.

                    A. Ground one;                 Ineffective Assistance of rnnncpi



                        Supporting FACTS (tell your story brie/ly without citing cases or law:



                                                          (See attached)




                   B. Giound two;_______Ineffective Assistance of Counsel/ Actually Trmnrf>nt-

                           of CCE charge.


                        Scppor.ing FACTS (tell your story briefly wiihout citing cases or law):



                                                             (See attached)




                   C.   Ground three;      _______ Ineffective          Assistance of Counsel/ Actually innocent
                                of distribution charges.


                        Supponing FACTS (tell your story briefly without citing cases or law); ---------------------------------------



                                                             (See attached)




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                    D    Ground four          Ineffective Assistance of rnimggW Governmonr'failure

                                        to prove the type of drug substance.


                         Supponing FACTS (Jell your story brie/ly without citing cases Of law):



                                                    (See attached)




   13. If any of the grounds listed in I2.A, B; C, and D were not previously presented, state briefly what grounds w'ere not so
       presented, and give your reasons for not presendng them;

          ______         ATI     claim were not previoufilv rav^eH hpnaTico nf                            Tnef f pct'fvpnpcc,




   1-. Do you have any peddon or appeal now pending in any court as to the judgment under attack?
          Yes □ Mo KK
   15. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked
       herein:

           (a) At prclimina.'y hearing      N/A



           (b) At arraignment and plea .
                                            Martin E. Kohler, 324 East Wisconsin Avenue, Suite 700,
                   Milwaukee, Wisconsin 53202.


           (c)Ai trial         Same     as above



          (d) At sentencing           Same as above:;




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irv M3


           (c) On           Christopher        T. Van Wagner.          3 South Pinckney-, Suite 61Q,

                    Madison Wisconsin         53703

                                                      N/A
           (0 In any post-conviction proceeding



           (g) On appeal from any adverse ruling in a post-conviction proceeding




   16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at
       approximately the same dmc?
       Yes &NoD

  17. Do you have any funtre sentence to serve after you complete the sentence imposed by the judgment under attack?
      Yes flCNo O

         (a) If so. give name and location of court which imposed sentence to be served in the future:
                                                   N/A



                                                                 N/A
         (b) Give date and length of the above sentence:.



         (c) Have you filed, or do you contemplate filing, any j>etition anacking the judgment which imposed the 'cnience to be
             served in the future?
             Yes G No SI        N/A


   Wherefore, movant prays that the Court grant him aJI relief to which he may be cnutlcd in this proceeding.




                                                                                   Signature of Aiiorncy (if any)




   I declare under penalty of perjury that the foregoing is true and correct. Executed on


                      ______________


                                                                       //             7           / n7
                                                                                                     /

                                                                                       Signanu-c of Movant
                                                                                                                    -




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